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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MARYLAND
                                   GREENBELT DIVISION

 IN RE:                                           BCN#: 19-16819
 RICHARD A GRAY
        Debtor                                    Chapter: 7

 WELLS FARGO BANK, NATIONAL
 ASSOCIATION, AS TRUSTEE FOR
 SECURITIZED ASSET BACKED                         MOTION FOR ORDER GRANTING RELIEF
 RECEIVABLES LLC 2005-FR5                         FROM AUTOMATIC STAY
 MORTGAGE PASS-THROUGH
 CERTIFICATES, SERIES 2005-FR5
 and its assignees and/or
 successors in interest,
         Movant/Secured Creditor,
 v.
 RICHARD A GRAY
         Debtor
 and
 Steven H Greenfeld, Cohen, Baldinger &
 Greenfeld, LLC
         Trustee
         Respondents


       COMES NOW, WELLS FARGO BANK, NATIONAL ASSOCIATION, AS

TRUSTEE FOR Securitized Asset Backed Receivables LLC 2005-FR5 Mortgage Pass-

Through Certificates, Series 2005-FR5, its assignees and/or successors in interest,

(Movant herein), by Counsel, alleges as follows:

       1.        This Court has Jurisdiction over this proceeding pursuant to 28 U.S.C.

Sections 157 and 1334 and 11 U.S.C. 362; Federal Rule of Bankruptcy Procedure

9014; and Local Bankruptcy Rule 4001-1(a), and that this matter is a core proceeding.

       2.        The above named Debtor(s) filed a Chapter 7 Petition in Bankruptcy with

this Court on May 20, 2019.

       3.        The Movant is the current payee of a promissory note secured by a Deed

of Trust upon a parcel of real property with the address of 9999 Sylvan Turn, Newburg,



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MD 20664 and more particularly described in the Deed of Trust dated June 14, 2005

and recorded at Book 05306 at Page 0159, among the land records of the County of

Charles, Maryland:

       Lot Numbered Four (4), in Block lettered "V", Plat Numbered One (1), in the
       subdivision known as "CLIFFTON ON THE POTOMAC", as per plat thereof
       recorded in Plat Book PCM 11, Plat No. 39, among the Land Records of
       Charles County, Maryland; being in the 5th Election District of said county.
       BEING the same land obtained by the within borrowers by Deed of even date
       herein, to be recorded immediately prior hereto.

       Copies of the Deed of Trust and Note are attached hereto, marked as exhibits B

& A and made a part hereof by reference.

       4.        This Movant is informed and believes, and based upon such information

and belief, alleges that title to the subject Property is currently vested in the name of the

Debtor(s).

       5.        The Debtor intends to surrender the subject property according to the

Statement of intent filed with this Court on May 20, 2019.

       6.        As of May 22, 2019, the estimated outstanding obligations are:

 Unpaid Principal Balance                                       $       273,701.87
 Unpaid, Accrued Interest                                       $       152,591.83
 Uncollected Late Charges                                       $             0.00
 Mortgage Insurance Premiums                                    $             0.00
 Taxes and Insurance Payments on behalf of Debtor               $        52,523.08
 Other Costs                                                    $         7,736.12
 Less: Partial Payments                                         ($            0.00)
 Minimum Outstanding Obligations                                $       486,552.90

       7.        The Debtor is in default with regard to payments which have become due

under the terms of the aforementioned note and Deed of Trust.

       As of May 22, 2019, the Debtor is due for:




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   Number of               From                   To                  Monthly       Total Missed
     Missed                                                          Payment         Payments
   Payments                                                           Amount
       34             October 1, 2011         July 1, 2014        $2,514.97       $85,508.98
        6             August 1, 2014        January 1, 2015       $2,695.97       $16,175.82
       18           February 1, 2015          July 1, 2016        $2,506.62       $45,119.16
        6             August 1, 2016        January 1, 2017       $2,528.46       $15,170.76
        6           February 1, 2017          July 1, 2017        $2,582.50       $15,495.00
        6             August 1, 2017        January 1, 2018       $2,600.30       $15,601.80
        6           February 1, 2018          July 1, 2018        $2,635.43       $15,812.58
        6             August 1, 2018        January 1, 2019       $2,758.01       $16,548.06
        4           February 1, 2019          May 1, 2019         $2,810.46       $11,241.84
 Atty Fees and Costs:                                                             $931.00
                                                              Total Payments:     $237,605.00

       8.        The Movant has elected to initiate foreclosure proceedings on the

Property with respect to the subject Deed of Trust, but is prevented by the Automatic

Stay from going forward with these proceedings.

       9.        This Movant is informed and believes, and based upon such information

and belief, alleges that absent this Court's Order allowing this Movant to proceed with

the pending foreclosure, Movant's security will be significantly jeopardized and/or

destroyed.

       10.       Steven H Greenfeld, Cohen, Baldinger & Greenfeld, LLC, has been

appointed by this Court as the Chapter 7 Trustee in this instant Bankruptcy proceeding.

       11.       This Movant is informed and believes and, based upon such information

and belief, alleges that the Debtor has little or no equity in the property.

       WHEREFORE, Movant prays for an order granting relief from Automatic Stay,

and for such other relief as the Court deem proper.




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Dated: May 31, 2019
                                      SHAPIRO & BROWN, LLP
                                      Attorneys for Movant

                                      By: /s/ Malcolm B. Savage, III
                                      William M. Savage, Esquire
                                      Federal I.D. Bar No. 06335
                                      Kristine D. Brown, Esquire
                                      Federal I.D. Bar No. 14961
                                      Thomas J. Gartner, Esquire
                                      Federal I.D. Bar No. 18808
                                      Gregory N. Britto, Esquire
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                                      Renee Dyson, Esquire
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                                      Certificate of Service


I hereby certify that on the 21st day of May, 2019, the following person(s) were served a copy of
the foregoing Motion in the manner described below:

Via CM/ECF Electronic Notice:


Tommy Andrews, Jr.
Tommy Andrews, Jr. P.C.                                        Debtor's Attorney
122 N. Alfred St.
Alexandria, VA 22314

Steven H Greenfeld
Cohen, Baldinger & Greenfeld, LLC                              Trustee
2600 Tower Oaks Blvd
Suite 103
Rockville, MD 20852



Via First Class Mail, Postage Prepaid:


Richard A Gray                                                 Debtor
9999 Sylvan Turn
Newburg, MD 20664




                                                    /s/ Malcolm B. Savage, III
                                                    William M. Savage, Esquire
                                                    Kristine D. Brown, Esquire
                                                    Thomas J. Gartner, Esquire
                                                    Gregory N. Britto, Esquire
                                                    Renee Dyson, Esquire
                                                    Malcolm B. Savage, III, Esquire
                                                    Nicole Lipinski, Esquire




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